                                 UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

 In re:        Paul Jones, Jr.                        ) Case Number: 17-17369
               Jennifer Jones                         ) Chapter 13 Proceedings
                    Debtor(s).                        ) Judge Jessica E. Price Smith

               TRUSTEE’S OBJECTION TO THIRD MOTION TO MODIFY PLAN

       Now comes LAUREN A. HELBLING, the duly appointed and qualified Standing Chapter
13 Trustee (“Trustee”) herein, by and through counsel, and hereby objects to the Third Motion to
Modify Plan filed with this Court on July 28, 2021 (hereinafter “Debtors’ Motion”). In support of
her objection, the Trustee makes the following representations to the Court:

          1.      The Debtors’ Motion is not feasible because it will complete in excess of 84 months.

       2.     The proposed plan associated with the Debtors’ Motion does not provide for
Velocity LLC.

       3.      The Trustee reserves the right to amend and/or supplement her objection should
additional information be provided.

       WHEREFORE your Trustee, being a proper party in interest, hereby moves this Honorable
Court to deny the Debtors’ Motion for the reasons cited.

                                               Respectfully submitted,

                                               /s/ Holly Davala
                                               HOLLY DAVALA #0070447
                                               Staff Attorney for Chapter 13 Trustee
                                               Office of the Chapter 13 Trustee, Lauren A. Helbling
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 17-17369-jps         Doc 97       FILED 08/05/21   ENTERED 08/05/21 11:41:38           Page 1 of 2
                                 CERTIFICATE OF SERVICE

I certify that on August 5, 2021, a true and correct copy of the Trustee’s Objection to Third Motion
to Modify Plan was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

         William Balena, Attorney, on behalf of Debtor(s) at docket@ohbksource.com



                                      /s/ Holly Davala
                                      HOLLY DAVALA #0070447
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 17-17369-jps       Doc 97    FILED 08/05/21     ENTERED 08/05/21 11:41:38           Page 2 of 2
